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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                     CASE NO .18-81219-CV-M lDDLEBRO OKS
                     CASE NO .18-81286-CV-M lDDLEBRO OKS
                     CASE N O.18-81370-CV -M IDDLEBROOK S
                     CASE NO.18-81375-CV-M lDDLEBROOK S

 M ITCH VELASCO,

       Plaintiff,



 TIM OTHY J.W HALL eta1.,

       Defendants.


 JA HYE M YUN G,

       Plaintiff,



  TIM OTHY J.W HALL eta1.,

       Defendants.


  M ICHAEL SCHEEL,

        Plaintiff,



  TIM OTHY J.W HALL eta1.,


  BRIAN BM DEL,

        Plaintiff,
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 TIM OTHY J.W HALL eta1.


                            ORDER CONSOLIDATING CASES
        THIS CAUSE com es before the Court upon Plaintiffs M itch Velasco and Ja Hye

 M yung's Unopposed M otion to Consolidate Related Shareholder Derivative Actions and

 Establish a Leadership Stnzcture,flled Novem ber 9,2018 in M itch Velasco v.Timothy I'
                                                                                      F/IJ/Jet

 al.,CaseNo.18-81219-cv-DMM (theQGvelasco Case''). (Velasco Case,DE 13). Plaintiffsseek
 to consolidate Ja Hye Myung v.Timothy J IF/IJ//e/al.,Case No.18-81286-cv-DM M (the
 QGMyung Case''),M ichaelScheelv.Timothy J Whalletal.,CaseNo.18-81370-cv-DM M (the
 GnscheelCase''),andBrian Bradelv.Timothy J F/lJ# etal.,CaseNo.18-81375-cv-DM M (the
 G*BradelCase'')withthe VelascoCase,whichhasalowercasenumber.
        Plaintiffs have filed the M otion to Consolidate plzrsuant to Federal Rule of Civil

 Procedure42(a)becauseallofthecasesarebasedon commonquestionsof1aw and fact,involve
  the snm e defendants,and are broughtas shareholderderivative lawsuits on behalfofADT,lnc.

  (Velasco Case,DE 13 at4). Defendantshavethe snmelawyersin a11ofthe cases. Although
  Plaintiffshave separate cotmsel,Plaintiffs'counselhas agreed to appoint specisc co-lead and

  liasoncounsel.(f#.)
         Rule42 oftheFederalRulesofCivilProcedlzrestatesthattûlilfactionsbeforethe court
  involveacommonquestion of1aw orfact,thecourtmay:(1)joinforhearing ortrialany oral1
  mattersatissuein theactions'
                             ,(2)consolidatethe actions;or(3)issueany otherordersto avoid
  unnecessary costordelay.'' Fed.R.Civ.P.42(a). Furthennore,lûdistrid courtsenjoy broad
  discretion in deciding how bestto m anage the cases before them .'' Chudasma v.M azda M otor

  Corp.,123F.3d 1353,1366 (111 Cir.1997).A decisionto consolidatecasesunderRule42(a)
  is discretionary and the courtm ustdetennine:
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       gW lhetherthe specificrisksofprejudice andpossible confusion (areqoverbome
       bytherisk ofinconsistentadjudicationsofcommon factualand legalissues,the
       burden on parties,witnessesand availablejudicialresourcesposed by multiple
       lawsuits,the length oftim erequired to conclude multiple suitsas againsta single
       one,and the relative expense to a11 concerned of the single-trial,m ultiple-trial
        alternatives.

 Hendrix v.Raybestos-Manhattan,Inc.,776F.2d 1492,1495(11th Cir.1985)(internalquotation
 marksand citations omitted)(alteration in original). Failtlre to consolidate these caseswould
 poserisk ofinconsistentadjudicationsin lightofthe common factualand legalissuesraised in
 both cases. Any prejudice to thePartiescaused by consolidation isoutweighed by the risk of
 inconsistentadjudications,aswellasthebtzrden onthePartiesandjudicialresotlrces.
        Accordingly,itisO RDERED AND ADJUDG ED thatthe above-styled casesshould be

 consolidated asfollows:
        (1)Plaintiffs M itch Velasco and Ja Hye M yung's M otion to Consolidate Related
            Shareholder Derivative Actions and Establish a Leadership Structlzre (DE 13) is
            GR ANTED .
        (2)LaurenceM .Rosen ofThe Rosen Law Firm,P.A.and Timothy W .Brown ofThe
            Brow n Law Firm ,P.C .SH A LL B E C O -LEA D C O UN SEL FO R PLA IN TIFFS.

            W alter J.M athews of M athews Giberson LLP SHALL BE LIASON C OUNSEL

            FO R PLAIN TIFFS.

         (3)TheClerk ofCourtshallADM INISTRATIVELY CLOSE CaseNo.18-81286-cv-
            DM M and DENY AS M O OT a11pendingm otionsin thatmatter.

         (4)The Clerk ofCourtshallADM INISTRATIVELY CLOSE CaseNo.18-81370-cv-
            DM M and DENY AS M OOT al1pending m otionsin thatmatter.
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        (5)The Clerk ofCourtshallADM INISTRATIVELY CLOSE CaseNo.18-81375-cv-
          DM M and DENY AS M OO T a11pendingm otionsin thatmatter.

        (6)AllfuturefilingsshallbemadetmderCaseNo.18-81219-cv-DM M only.
        (7)The Partiesare notbound by any scheduling ordersfrom Case Nos.18-81286-cv-
           DM M ,18-81370-cv-DM M ,or18-81375-cv-DM M .
                                                              .g'
                                                                *

        DONE AND ORDERED in Chambers,atW estp/m Be
                                                 ac,Florida,this?.L.dayof
                                                         ,,

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                                                  .'y,
                                                 ..
 N ovember,2018.                             .,
                                            .y
                                             '''


                                        DO    D M .M IDD LEBRO O K S
                                        UNITED STATES DISTRICT JUDGE
  Cc:   CounselofRecord;
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